CaSe 1-18-41802-nh| DOC_Q" Filed 04/02/18 Entered 04/02/18 11221:07

132030 (Form 2030} (12/15)

United States Bankruptcy Court
wm District Of M___
In re gel} EJ$OQ f','\{"`~\€j Ll/['j

Case No. ) gu LHXD;L
Debtor Chapter ) ‘
DlSCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
l. Pursuant to ll U .S.C. § 329{a) and Fed. Bankr. P. 2016(b), I certify that I am the attemey for the above
named debtor(s) and that compensation paid to me within one year before the filing of the petition in

bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
contemplation of or in connection with the bankruptcy case is as follows:

ge lt
For legal services, I have agreed to accept .............................. $ '

' 9
Prior to the filing of this statementl have received . ....................... $ // /(b m
Balance Due ...................................................... $

2. The source of the compensation paid to me was:

m Debtor E Other (s ecify)
came lanham p

3. The source of compensation to be paid to me is:
m Debtor l:] Other (specify)

4. m I have not agreed to share the above-disclosed compensation with any other person unless they are
members and associates of my law tirm.

t:\ I have agreed to share the above-disclosed compensation with a other person or persons who are not
members or associates of my Law tirm. A copy of the agreement, together with a list of the names of the
people sharing in the compensation, is attached

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
case, including:

a. Analysis of the debtor‘ s financial situation, and rendering advice to the debtor in determining whether to
file a petition in bankruptcy;

b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

c. Representation of the debtor at the meeting of creditors and continuation hearing, and any adjourned
hearings thereof;

 

 

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d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

e. [Other provisions as needed]

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6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

 

CERTlFlCATION

l certify that the foregoing is a complete statement of any agreement or arrangement for payment to
me for representation of the dcbtor(s) in this bankr%tcy%oceedmg.

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.J(»‘»")(, 611;»\) s1 'p“°\j€:“{')f¢fl\¢'j

Name oflaw frm

 

 

 

 

 

